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                         UNITED STATES DISTRICT COURT
                         SO UTH ERN D ISTR ICT O F FLO R ID A

                            CA SE N O .19-M J-6508-SELTZER


 UN ITED STA TES O F AM ER IC A

 VS.

 SC O TT G ALIM ID I,

                     D efendant.
                                      /

                                ORDER OF DISM ISSAI,

       PursuanttoRule48(a)oftheFederalRulesofCdminalProcedureandby leaveofCourt
 endorsed hereon,theUnited StatesAttorney forthe SouthernDistrictofFloridahereby dismisses

 theComplaintwithoutprejudiceastodefendantScotGalimidi.
                                          Resjectfullysubmitted,
                                                                        %




                                          A IU AN A FA   O OR SHA N
                                          UN ITED STATES A TTORN EY

 cc: U.S.Attomey (AjayJ.Alexander,AUSA)
       U S M arshal
       ChiefProbation Ox cer
       PretrialServices

 LeaveofCotll'
             tisgranted forthefilingoftheforegoing Dism issal.


 DATE:!fz3xuzô
                                          H O N O M BLE PA TR ICK M .H U NT
                                          U NITED STA TES M A G ISTM T E JUD G E
